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                           IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF UTAH


 UNITED STATES OF AMERICA,

              Plaintiff,                           ORDER TO FILE A REPLACEMENT
                                                   BRIEF
 v.
                                                   Case No. 2:18-cr-00365-JNP-BCW
 JACOB KINGSTON, ISAIAH KINGSTON,
 LEV DERMEN, RACHEL KINGSTON, and                  District Judge Jill N. Parrish
 SALLY KINGSTON

              Defendants.



       Defendant Lev Dermen has filed a motion labeled as a “Request for Reconsideration of

Bail.” [Docket 160.] At times the motion references constitutional due process concerns, statutory

provisions regulating when a criminal trial must commence, see 18 U.S.C. § 3161, and statutory

provisions governing the length of a defendant’s pretrial detention, see 18 U.S.C. § 3164. But it is

not entirely clear the extent to which Dermen is making a constitutional or statutory claim, or

whether he requests a different trial date or some other relief. Moreover, the court previously

ordered that any brief requesting release from detention pursuant to § 3164 must “address with

specificity which periods of time are or are not excluded from the 90-day calculation.”

       Because Dermen’s brief does not consistently identify the relief requested or the source of

authority for the relief, and because the brief does not comply with the court’s order to identify

periods of time excluded from the 90-day calculation under § 3164, the court STRIKES Dermen’s

motion. The court orders Dermen to file a motion that clearly identifies each constitutional or

statutory provision he relies upon and the specific remedy requested for each provision. To the
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extent that he requests relief under § 3164, he must also identify any periods of time that he

contends may not be excluded from the 90-day calculation and argue why an exclusion of time is

improper.



       Signed January 29, 2018.

                                           BY THE COURT



                                           ______________________________
                                           Jill N. Parrish
                                           United States District Court Judge




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